














IN THE COURT OF CRIMINAL APPEALS


OF TEXAS


				




NO. PD-0815-11





RICKY JASON ROBERTS, Appellant



v.



THE STATE OF TEXAS






ON APPELLANT'S PETITION FOR DISCRETIONARY REVIEW

FROM THE FIRST COURT OF APPEALS JEFFERSON COUNTY





Per curiam. Keasler and Hervey, JJ., dissent.  Alcala, J., not participating.


ORDER

	The petition for discretionary review violates Rules of Appellate Procedure 9.3(b)
and 68.4(i), because the petition is not accompanied by 11 copies and it does not contain a
copy of the opinion of the court of appeals.

	The petition is struck.  See Rule of Appellate Procedure 68.6.

	The petitioner may redraw the petition.  The redrawn petition and copies must be
filed in the COURT OF CRIMINAL APPEALS within thirty days after the date of this
order.


Filed: September 28, 2011

Do Not Publish


